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                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS                                 JUN 24 2020
                                    SAN ANTONIO DIVISION
                                                                              CLERI(, U.S. DISTRftI'O1g.
                                                                              WESTERN DISTFf)j\TEYAS
MELODY JOY CANTU AND DR. RODRIGO
CANTU                                                                                           dLERK
vs.                                                'Case No.:
DR SANDRA GUERRA and DIGITAL
FORENSICS CORPORATION

                       MOTION FOR ADMISSION PRO HAC VICE
TO THE HONORABLE JUDGE OF SAID COURT:

       Comes now Tor Ekeland                                               applicant herein, and

moves this Court to grant admission to the United States District Court for the Western District of

Texas pro hac vice to represent Melody Joy Cantu & Dr. Rodrigo Cantu              m this case, and

would respectfully show the Court as follows:


       1.     Applicant is an attorney and a member of the law firm (or practices under the name of)
               Tor Ekeland Law, PLLC                                    with offices at:
              Mailing address: 195 Montague Street, 14th Floor

               City, State, Zip Code: lkooklYfl. NY 11201
                           718-737-7264
              Telephone:                                    Facsimile: 718-504-5417


       2.      Since   May 16, 2007                          , Applicant has been and presently is a

              member of and in good standing with the Bar of the State of New York

              Applicant's bar license number j 4493631


       3.     Applicant has been admitted to practice before the following courts:

              Court:                                        Admission date:
               See Attached List ofAdmissions
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4.   Applicant is presently a member in good standing of the bars of the courts listed above,

     except as provided below (list any court named in the preceding paragraph before which

     Applicant is no longer admitted to practice):
     Not applicable.




5    i []have            have not previously applied to Appear Pro Hac Vice in this district

     court in Case[s]:

     Number:                              onthe         dayof______________
     Number:                              onthe         dayof_____________
     Number:                              onthe____ dayof_____________
6.   Applicant has never been subject to grievance proceedings or involuntary removal

     proceedings while a member of the bar of any state or federal court, except as

     provided
     Not applicable.




'I   Applicant has not been charged, arrested, or convicted of a criminal offense or offenses,

     except as provided below (omit minor traffic offenses):
     I've been arrested three times in the last thirty years; all charges were dismissed.
     None were for fraud or financial impropriety, and all have been disclosed to the New
     York State Bar which never chose to investigate any of thent I am happy to provide
     the Court with further details upon request.



8.   Applicant has read and is familiar with the Local Rules of the Western District of Texas

     and will comply with the standards ofpractice set out therein.
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          9.     Applicant will file an Application for Admission to Practice before the United States

                 District Court for the Western District of Texas, if so requcsted or Applicant has

                 co-counsel in this case who is admitted to practice before the United States District

                 Court for the Western District of Texas.

                 Co-counsel: Paula Elliott Estefan

                 Mailing address: 817 North Thompson

                 City, State, Zip Code: Conroe, Texas 77301

                 Telephone: 93671&i 706


          Should the Court grant applicant's motion, Applicant shall tender the amount of $100.00 pro hac

vice fee in compliance with Local Court Rule AT-1(f)(2) [checks made payable to: Clerk, U.S. District

Court].

          Wherefore, Applicant prays that this Court enter an order permitting the admission of
 Tor Ekeland                              to the Western District of Texas pro hac vice for this case only.


                                                       Respectfully submitted,

                                                        Tor Ekeland
                                                       [printed name of Applic     ]


                                                       [signature of Applicant]


                                      CERTiFICATE OF SERVICE

          I hereby certify that I have served a true and correct copy of this motion upon each attorney of

record and the original upon the Clerk of Court on this the_23 day of_June                          2020


                                                        Tor Ekeland
                                                       [printed name ofApplican

                                                            1L
                                                       [signature ofApplicant]
                               Case 5:20-cv-00746-JKP Document 2 Filed 06/24/20 Page 4 of 6



                                                                 Toe Ekeland Admissions



Court Type          Court Naius                  Date of Adn*sion                         Bar1Restrafion Code         Status

State               New Yodc Unified Cowls       Admitted 5/1612007                       4493631                     In good standing


US District Court                                Admitted 4/2112008                       TE5608                      hi good standing
                    Eastern District of NY

US District Court
                    SnDitrit                     Admitted 4/8/2008                        TE5608                      In good standing


US District Court                                Admitted 7/27/20 15                      519557                      In good standing


                                                 Admitted 6/24/2014
US District Cowl                                                                          2329176                     hi good standing
                    Southern District of Texas

                    Texas:                       Admitted 5/24/20 16                      Eastern District of Texas
US District Court                                                                                                     hi good slandmg
                    Eastern District of Texas                                             Does not assign a number

Federal Appeals     2nd Circuit                  Admitted 8/25/2015                       N/A                         In good standing


Federal Appeals     3rd Circuit                  Admitted 3/27/2013                       N/A                         hi good standing


Federal Appeals     5th Circuit                  Admitted 9/12/2016                       N/A                         In good standing


Federal Appeals     9th Circuit                  Admitted 5/13/20 16                      N/A                         In good standing


US Supreme Court    United States Suprcuie Court Admitted 5/14/2018                       N/A                         In good standing
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    Search
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                      To search you must enter at least the first character of the Attorney's first
   Registered         name OR the first character of the Attorney's middle name AND the first
    tn-House          character of the last name. To nan-ow your search enter the Attorney's full
    Counsel/          name.
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    In-House
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    Counsel                          Middle Name:         Bernhard
  Registration
                                       Last Name:          keiand
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                    address, phone number and disciplinary history (if any).

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                           TO8ERNHARD              4493631          Brooklyn       NYT 2007                 Currently
                                                                                                            registered



                    if the name of the attorney you are searching for does not appear, please try again with a different spelling. In addition,
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                    they were admitted. If you need additional information, please cortact the NYS Office of Crest Adminetration, Attorney
                     Registration Urt at 212-428-2800



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